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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA,


 v.                                                        Case No. 1:21-cr-315-RCL

 JAMES LITTLE,

        Defendant.


                                  MEMORANDUM ORDER

       The D.C. Circuit vacated James Little’s original sentence and remanded for resentencing.

See United States v. Little, 78 F.4th 453, 461 (D.C. Cir. 2023). On January 25, 2024, the Court

resentenced Little. The Court ordered Little committed to the custody of the Bureau of Prisons for

a term of 150 days with 60 days’ credit for time served and 30 days’ credit for the 18-month term

of probation served. See Min. Entry (Jan. 25, 2024). Little moved for release pending appeal,

which the Court denied. After filing a notice of appeal, ECF No. 76, Little made a motion for

release to the D.C. Circuit. The Circuit granted his motion, “without prejudice to the government

filing a motion in district court requesting imposition of conditions of release pending appeal.”

United States v. Little, No. 24-3011 (D.C. Cir. appeal docketed Jan. 31, 2024), Doc. No. 2041724.

The government then moved to impose conditions of release. See Gov. Mot., ECF No. 80. Little

filed an opposition, Opp’n, ECF No. 81, and the government filed a reply, Reply, ECF No. 82.

       Upon consideration of the briefing, the relevant authorities, and the record as a whole, the

Court will GRANT the government’s motion and will impose conditions of release similar to

those imposed on Little when he was on pretrial release.




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                                  I.     LEGAL STANDARD

       “The provisions of 18 U.S.C. § 3143 govern release pending sentencing or appeal.” Fed.

R. Crim. P. 46(c). Under § 3143, once it is established that the defendant is entitled to release

pending his appeal, the court “shall order the release of the person in accordance with” §§ 3142(b)

or (c). § 3143(b)(1). If the court determines that release of the person on personal recognizance

or an unsecured appearance bond “will not reasonably assure the appearance of the person as

required or will endanger the safety of any other person or the community,” then the court is to

order the release of the person on conditions. § 3142(c)(1). These conditions must include “the

condition that the person not commit a Federal, State, or local crime during the period of release”

and a condition requiring the person to cooperate in the collection of a DNA sample if statutorily

authorized. § 3142(c)(1)(A). The conditions may also include “the least restrictive further

condition, or combination of conditions, that such judicial officer determines will reasonably

assure the appearance of the person as required and the safety of any other person and the

community[.]” § 3142(c)(1)(B).

       Rule 46(c) further provides that “[t]he burden of establishing that the defendant will not

flee or pose a danger to any other person or to the community rests with the defendant.” Fed. R.

Crim. P. 46(c).

                                       II.   DISCUSSION

       To protect public safety, the Court will subject Little’s release to conditions. In particular,

it will impose nearly the same conditions as those to which he was subject while on pretrial release,

because these represent the least restrictive combination of conditions that will reasonably assure

public safety.

       Releasing Little without conditions would endanger public safety. Even if Little did not

personally engage in violence on January 6, 2021, he is wrong to assert that he “has not endangered


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anyone’s safety at one point in time.” Opp’n 3. Little contributed to the violence on January 6.

As the D.C. Circuit explained in discussing a misdemeanor defendant who “was neither violent

nor destructive,” Little’s “entry into the Capitol—alongside dozens of others—directly contributed

to the Congress’s need to recess to ensure the safety of its members” because “[e]ach additional

person, no matter how modestly behaved, increased the chaos within the building, the police’

difficulty in restoring order and the likelihood of interference with the Congress’s work.” See

United States v. Alford, 89 F.4th 943, 946, 953 (D.C. Cir. 2024).

       Despite Little’s actions on January 6, the Court has already recognized Little’s “clear lack

of remorse.” See United States v. Little (Notes for Resentencing), No. 1:21-cr-315 (RCL), 2024

WL 386718, at *1 (D.D.C. Jan. 25, 2024). As the nation approaches the 2024 presidential election,

there is a serious risk that Little will once more contribute to political violence. The Court fears

he will do so unless he is subject to appropriate conditions of release. The Court therefore

concludes that conditions of release are necessary to protect the public. It is satisfied that the

conditions to which Little was subject while on pretrial release represent the least restrictive

combination of conditions that will reasonably assure that Little does not endanger any other

person or the community. It will therefore reimpose those conditions, with slight modifications.

                                    III.   CONCLUSION

       The Court therefore ORDERS that the defendant’s release is subject to the following

conditions:

       (1) The defendant must not violate federal, state, or local law while on release.

       (2) The defendant must cooperate in the collection of a DNA sample if it is authorized by

              34 U.S.C. § 40702.

       (3) The defendant must advise the court or the pretrial services office or supervising officer

              in writing before making any change of residence or telephone number.


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       (4) The defendant must submit to supervision by and report for supervision to the courtesy

           supervision of the Western District of North Carolina.

       (5) The defendant must notify the pretrial services office or supervising officer in advance

           of any travel outside the Western District of North Carolina.

       (6) The defendant must not possess a firearm, destructive device, or other weapon.

       (7) The defendant must not use or unlawfully possess a narcotic drug or other controlled

           substances defined in 21 U.S.C. § 802, unless prescribed by a licensed medical

           practitioner.

       (8) The defendant must submit to testing for a prohibited substance if required by the

           pretrial services office or supervising officer. Testing may be used with random

           frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol

           testing system, and/or any form of prohibited substance screening or testing. The

           defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and

           accuracy of prohibited substance screening or testing.

       (9) The defendant must not enter Washington, D.C. except for court proceedings,

           consultations with attorneys, Probation Office or Pretrial Services Agency business.

       Pursuant to 18 U.S.C. § 3142(h)(2), the defendant is ADVISED OF THE FOLLOWING

PENALTIES AND SANCTIONS:

       Violating any of the foregoing conditions of release may result in the immediate issuance

of a warrant for your arrest, a revocation of your release, an order of detention, a forfeiture of any

bond, and a prosecution for contempt of court and could result in imprisonment, a fine, or both.

       While on release, if you commit a federal felony offense the punishment is an additional

prison term of not more than ten years and for a federal misdemeanor offense the punishment is




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